  Case 2:94-cr-00381-ILRL-MBN         Document 2005       Filed 04/02/09     Page 1 of 2




                         UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF LOUISIANA

UNITED STATES OF AMERICA                         CRIMINAL ACTION

VERSUS                                           NO. 94‐381

PAUL HARDY                                       SECTION “C”

                                ORDER AND REASONS

       This matter comes before the Court on defendant’s motion to quash certain

subpoenas. (Rec. Doc. 2000). Having considered the record, the memoranda of counsel

and the law, the Court rules as follows.

       The government challenges the defendant’s standing to challenge the subpoenas

issued to experts, relying on United States v. Williams, 2007 WL 2287819 (E.D.La.). The

Court will assume that standing exists. Otherwise, the Court would be compelled to

extend deadlines to allow the individual experts to obtain counsel to object to any

disclosure, and the experts may have relied upon defense counsel to object on their

behalf. Any such delay would further jeopardize the already fragile hearing date.

       Turning to the merits and in general, any expert that the defense proposes to call,

whether on direct or rebuttal1, must produce, if not already produced, his/her most


       1
              The defense indicates that Dr. George Woods will only be called as a
rebuttal witness, if at all. In the interests of justice and also to avoid unnecessary delay
at the hearing itself, Dr. Woods should provide the same disclosures now as if he were a
case‐in‐chief expert.
  Case 2:94-cr-00381-ILRL-MBN         Document 2005       Filed 04/02/09     Page 2 of 2




recent curriculum vitae and the list of cases in which the expert has testified. In

addition, the experts must produce, if not already produced, those categories

referenced by the government as #1, #2, #3, #4, #7, #8, and #9, but only to the extent

that the experts reviewed, or relied upon the information in coming to their

conclusions.2 The experts do not need to produce categories #5 or #6.

       The defense advises that it does not intend to call Dr. Murley Tetlow and Dr.

Kevin Bianchini as witnesses. These experts should, nonetheless, produce whatever

documents or records, if not already produced, that the testifying witnesses reviewed

or relied upon in coming to their conclusions.3

       Accordingly,

       IT IS ORDERED that the defendant’s motion to quash certain subpoenas is

PARTIALLY GRANTED and PARTIALLY DENIED. (Rec. Docs. 2000). The time for

the subpoena return remains unchanged by this order.

       New Orleans, Louisiana, this 2nd day of April, 2009.

                                                  ____________________________________
                                                  HELEN G. BERRIGAN
                                                  UNITED STATES DISTRICT JUDGE



       2
             The Court knows of no authority requiring the defense to disclose
information upon which the expert did not review or rely upon in formulating their
opinion. The Court notes that the defense in its response indicates that the information
with regard to Dr. Cunningham has already been provided.
       3
             The Court notes that the defense indicates that the information from these
witnesses has already been produced to the government. (Rec. Doc. 2000, p. 2).
